






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




ROBERT CORTEZ MATLOCK,


                            Appellant,


v.



THE STATE OF TEXAS, 


                            Appellee.
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No. 08-07-00227-CR



Appeal from the


380th Judicial District Court


of Collin County, Texas 


(TC# 380-82616-05) 



O P I N I O N


	Appellant Robert Cortez Matlock appeals his conviction for burglary of a habitation.  A
jury sentenced Appellant to 5 years' imprisonment in the Institutional Division of the Texas
Department of Criminal Justice.  On appeal, Appellant challenges the trial court's denial of his
motion to suppress evidence and the sufficiency of the evidence supporting the conviction.

	Scott Coxwell was the manager at Mr. Jim's Pizza in Plano on July 8, 2005. 
Mr.&nbsp;Coxwell testified that at approximately ten minutes before closing, Appellant came in
wearing a ski mask and gloves.  Appellant pointed a gun at Mr. Coxwell and a co-worker, yelled
at them to get on the floor, and demanded the money from the register.  Appellant pressed the
gun to Mr.&nbsp;Coxwell's head while the other employee pulled the cash out of the register.  The
employee handed the cash over the counter to Appellant, who then turned and ran out of the
store.  Immediately after Appellant fled, Mr. Coxwell called 9-1-1.  The description he gave to
Plano police was of a male, 5' 10" to 5' 11", between 200 and 205 pounds, with distinctive eyes. 
The individual's eyes were the only part of the robber's face not covered by the mask and the
only facial feature Mr.&nbsp;Coxwell could identify.  However, Mr. Coxwell was also able to describe
the gun used during the crime as a chrome colored revolver with a wood grain grip.

	The jury was told that there had been a rash of stolen vehicles in the area around
Appellant's neighborhood in Plano.  On July 15, one week following the robbery at Mr. Jim's
Pizza, the home of Dan and Sandra Self was burglarized by Appellant and an accomplice named
Cameron Black.  Mr. and Mrs. Self awoke to discover their two vehicles, a 2000 Chevrolet
Tahoe and a 2005 Nissan Pathfinder, were missing from their garage.  The couple reported the
thefts, and police investigators entered the Tahoe and Pathfinder's information into a police
database so that officers could identify the stolen vehicles if they happened to come upon them.

	Two days later, on July 17, the Pathfinder was located not far from the Self's home and
police immediately set up surveillance.  At approximately 10:45 p.m., the surveilling officer,
Officer John Hoffman, saw a Mitsubishi Endeavor pull up beside the Pathfinder and saw two
individuals leave the Mitsubishi and get into the Pathfinder.  The officer was spotted in his
unmarked patrol car, the Mitsubishi and the stolen Pathfinder sped off with Officer Hoffman in
hot pursuit.  Officer Hoffman testified at trial that he estimated the Pathfinder must have been
traveling between ninety and one hundred miles per hour.  Moments later, the Pathfinder lost
control attempting to make a turn.  The SUV jumped the curb, traveled across the yard of a
private residence, and plowed straight into the bedroom of a small child.  The Pathfinder's
occupants fled the scene immediately following the crash.  A neighbor witnessed the two running
away.  She described one of the fleeing individuals as a female and later identified that person as
Emily Johnson.  The other individual in the stolen Pathfinder was later identified through DNA
found on a cigar on the driver's side floorboard as Cameron Black.

	Meanwhile, two other officers who were responding to the scene of the accident received
a dispatch to Appellant's home which was nearby where the crash occurred.  The dispatcher told
the officers they were being sent to the residence of a suspect believed to be involved with the
stolen Pathfinder that had just crashed.  Officer Cliff Turrubiarte was one of the officers
dispatched to Appellant's residence.  After knocking on Appellant's door with no response, the
other officer noticed the garage light switched on and off  abruptly.  The officers moved towards
the garage as the door was being raised.  Once open, Officer Turrubiarte saw the Mitsubishi
Endeavor with several occupants inside and Appellant standing in the doorway leading into the
house.  One of the people inside the Mitsubishi was identified as Emily Johnson, the female who
had fled from the scene of the accident.  The Mitsubishi's front passenger was Brandon Ware. 
Mr. Ware later admitted to participating in the robbery of Mr. Jim's and the Self home.

	Two days after the crash, Ms. Johnson and Mr. Black gave statements to Detective Jeff
Kranz of the Plano Police Department.  Ms. Johnson advised Detective Kranz that about two
weeks prior, Appellant had robbed Mr. Jim's Pizza when it was about to close wearing a ski
mask.  She stated that Brandon Ware was driving the car that night, and that Mr. Black, another
girl, and herself were involved in the plan.  They dropped Appellant off at Mr. Jim's and met
back at Appellant's house after the robbery.

	Mr. Black informed Detective Kranz that he and Appellant had stolen a Chevrolet
suburban from a residence and left it parked on a street nearby.  He also stated that Appellant
kept a black backpack containing a ski mask, gloves, and multiple sets of car keys in his
bedroom.  On July 20, 2005, Detective Kranz obtained a search warrant based on information
from Emily Johnson and Cameron Black.  The search of Appellant's home yielded a .32 caliber
chrome revolver with a wood grip, matching the description of the gun used in the robbery of
Mr.&nbsp;Jim's Pizza.  The police also located a pair of gloves, a backpack, and a boot containing
several sets of car keys.

	A month following the robbery at Mr. Jim's, Plano Police Detective Billy Meeks
interviewed the manager of Mr. Jim's Pizza, Scott Coxwell.  He showed Mr. Coxwell a photo of
the gun seized during the search of Appellant's garage and a photo of Appellant.  Mr. Coxwell
identified the gun as the one used in the robbery, and although he could only recall the robber's
eyes, he told Detective Meeks that the eyes of the man in the photo matched those of the robber. 
Mr. Coxwell later identified Appellant during his testimony at trial as the person who robbed him
at Mr. Jim's on July 8, 2005.

	Appellant was charged with aggravated robbery, burglary of a habitation, and two counts
of organized criminal activities based on the events of July 8 and July 14, 2005. (1)  Appellant was
convicted of all charges and sentenced to serve eight years' for the aggravated robbery, five
years' for burglary, and five years' for the each count of engaging in organized criminal
activities.  Appellant raises two issues on appeal.  In Issue One, Appellant contends the trial court 
erred by denying his motion to suppress evidence because the warrant and search of his residence
was not supported by probable cause.  In Issue Two, Appellant asserts the evidence is factually
insufficient to support the convictions because the accomplice witness testimony was insufficient
to identify Appellant as the perpetrator of the offenses.

	In Issue One, Appellant alleges the trial court erred in denying his motion to suppress 
evidence from the search and seizure of Appellant's residence.  We review a trial court's ruling
on a motion to suppress with a bifurcated standard, giving almost total deference to the trial
court's determination of historical facts, and reviewing de novo the court's application of the law
to those facts.  See Maxwell v. State, 73 S.W.3d 278, 281 (Tex.Crim.App. 2002).  When, as in
this case, the trial court does not file explicit findings of fact we will review the evidence in the
light most favorable to the trial court's ruling.  Id.

	Appellant moved to suppress all physical evidence discovered during the Plano Police
Department's search of his residence on July 20, 2005.  Appellant argued that the evidence was
seized illegally because the search warrant was not supported by probable cause.  Appellant
contends that Detective Kranz's affidavit was deficient because it relies on information provided
by criminal informants and was not verified before conducting the search.

	Probable cause to support the issuance of a search warrant exists where the facts
submitted to the magistrate are sufficient to justify a conclusion that the object of the search is
probably on the premises to be searched at the time the warrant was issued.  Cassias v. State, 719
S.W.2d 585, 587 (Tex.Crim.App. 1986).  The Texas Code of Criminal Procedure requires that a
search warrant be supported by a sworn affidavit setting forth substantial fact establishing
probable cause.  See Tex.Code Crim.Proc.Ann. art. 18.01(b)(Vernon Supp. 2008).  The
affidavit must include sufficient facts to establish probable cause:

	(1)	that a specific offense has been committed,


	(2)	that the specifically described property or items that are to be
searched for or seized constitute evidence of that offense or
evidence that a particular person committed that offense, and


	(3)	that the property or items constituting evidence to be searched for or
seized are located at or on the particular person, place, or thing to be
searched.


Tex.Code Crim.Proc.Ann. art. 18.01(c).


	We examine the totality of the circumstances to determine whether probable causes
exists.  See Dixon v. State, 206 S.W.3d 613, 616 (Tex.Crim.App. 2006); Matamoros v. State, 901
S.W.2d 470, 478 (Tex.Crim.App. 1995).  When a probable cause affidavit specifies a named
informant as supplying the information upon which probable cause is based, the affidavit is
sufficient if it is sufficiently detailed to suggest direct knowledge on the informant's part. 
Wilkerson v. State, 726 S.W.2d 542, 545 (Tex.Crim.App. 1986), cert. denied, 480 U.S. 940, 107
S.Ct. 1590, 94 L.Ed.2d 779 (1987).  In addition, when a named informant makes a declaration
against their penal interest in front of an officer, these circumstances indicate a substantial basis
that the informant's statements are trustworthy.  See Hennessy v. State, 660 S.W.2d 87, 91 
(Tex.Crim.App. 1983).

	In this instance, Detective Kranz's affidavit states that Ms. Johnson and Mr. Black came
forward, identified themselves, and admitted to their participation in committing the charged
offenses along with Appellant.  According to the warrant affidavit, both individuals advised
Detective Kranz that they participated in the robbery at Mr. Jim's Pizza and the burglary of the
vehicles along with Appellant.  Furthermore, Ms. Johnson and Mr. Black were able to describe
the items of interest, as well as the locations of the items within Appellant's residence based on
their personal knowledge.

	In sum, two separate and independent accomplice witnesses gave detailed statements
regarding the potential evidence located in Appellant's house, and their statements included
admissions that they had both engaged in criminal activities.  Therefore, based on the totality of
the circumstances, we conclude Detective Kranz's demonstrated the veracity and direct
knowledge of the witnesses and the warrant contained sufficient information on which the
magistrate could have concluded probable cause existed.  Accordingly, Issue One is overruled.

	In Issue Two, Appellant alleges that the evidence was factually insufficient to support his
convictions.  In a factual sufficiency review, we consider all the evidence in a neutral light. 
Roberts v. State, 220 S.W.3d 521, 524 (Tex.Crim.App. 2007).  Evidence is factually insufficient
if:  (1) the evidence supporting the verdict is so weak that the verdict seems clearly wrong and
manifestly unjust; or (2) the evidence supporting the verdict is outweighed by the great weight
and preponderance of contrary evidence, rendering the verdict clearly wrong and manifestly
unjust.  Id.  In addition, our review should not substantially intrude upon the fact finder's role as
the sole judge of the weight and credibility given to witness testimony.  Johnson v. State, 23
S.W.3d 1, 7 (Tex.Crim.App. 2000); see also Marshall v. State, 210 S.W.3d 618, 625
(Tex.Crim.App. 2006)(factual sufficiency review still requires "due deference" be given to the
jury's determinations).

	Specifically, Appellant argues that the State failed to carry its burden to identify
Appellant as the individual who committed the charged offenses because the State's evidence of
identity was limited to accomplice witnesses testimony. (2)  A conviction cannot rest on the
testimony of an accomplice unless corroborated by other evidence that tends to connect the
defendant with the offense committed, and the corroboration is not sufficient if it merely shows
the commission of the offense.  Tex.Code Crim.Proc.Ann. art. 38.14 (Vernon 2005).  The test
for determining whether sufficient corroborating evidence exists asks whether, absent the
accomplice witness testimony, the remaining evidence tends to connect the defendant to the
offense.  See McDuff v. State, 939 S.W.2d 607, 612 (Tex.Crim.App. 1997).  However, the non-accomplice evidence need not be sufficient itself to establish the accused's guilt beyond a
reasonable doubt.  Hernandez v. State, 939 S.W.2d 173, 176 (Tex.Crim.App. 1997).  Proof that
connects appellant to a weapon used in the offense is sufficient corroborative evidence.  See
Cockrum v. State, 758 S.W.2d 577, 582 (Tex.Crim.App. 1988).  In determining the strength of a
particular item of non-accomplice evidence, we examine:  (1) its reliability or believability; and
(2) the strength of its tendency to connect the defendant to the crime.  Johnson v. State, 234
S.W.3d 43, 54 (Tex.App--El Paso 2007, no pet.), citing Herron v. State, 86 S.W.3d 621, 632
(Tex.Crim.App. 2002).

	As a preliminary matter regarding Appellant's conviction for burglary of a habitation, the
State argues that Ms. Johnson was not an accomplice and therefore her testimony is not subject to
the accomplice witness rule.  In order to be classified as an accomplice, one must be susceptible
to prosecution for the same offense with which the defendant is charged.  See Gamez v. State,
737 S.W.2d 315, 322 (Tex.Crim.App.1987); Tucker v. State, 689 S.W.2d 235, 237 (Tex.App.--El&nbsp;Paso 1985, pet. ref'd).  Commission of a different, "downstream" offense, even with
knowledge of the prior criminal act charged against the defendant will not suffice.  Tucker, 689
S.W.2d at 237.  While her admissions to Detective Kranz indicated that Ms. Johnson was
involved with the robbery at Mr. Jim's pizza, there is no evidence of any affirmative actions on
her part to promote, encourage, assist, or participate in the burglary of the Self's vehicles. 
Although Ms. Johnson may be subject to prosecution for the offense of unauthorized use of a
vehicle by using the Nissan Pathfinder with Mr. Black on July 17, this is a "downstream" offense
off the actual burglary, and does not make Ms. Johnson an accomplice to the greater offense.  See
id.  Accordingly, Ms. Johnson's testimony need not be eliminated from consideration under the
accomplice witness rule because there is no evidence to support her classification as an
accomplice to the burglary of the Self's home.  See Gamez, 737 S.W.2d at 322; see also Tucker,
689 S.W.2d at 237 (holding there was no error in refusing to instruct the jury regarding the
accomplice witness rule regarding a particular individual because there was no evidence to
indicate that individual was an accomplice to the charged offense.)

	Eliminating only Mr. Black and Mr. Ware's testimony from consideration, the other
evidence that tends to connect Appellant to the burglary offenses includes:  (1) Ms. Johnson's
testimony that in mid-July Appellant was driving a Chevrolet Tahoe; (2) evidence that the Tahoe
Appellant was driving matched the description of the Tahoe stolen from the Self's home; (3) the
Tahoe was located in the parking lot at Appellant's sister's apartment; (4) after crashing the
Nissan Pathfinder, Ms. Johnson testified that she sought refuge in Appellant's house; (5) the
Pathfinder was parked a short distance from Appellant's house; (6) Appellant was in the vehicle
that dropped Ms. Johnson and Mr. Black off at the Pathfinder prior to the crash; (7) evidence that
it was Appellant's plan, after the Pathfinder crashed, to tell the police they did not know who was
driving the vehicle, to try and protect Mr. Black; (8) Appellant was one of the individuals police
found trying to leave his house after the Pathfinder crash; (9) the Mitsubishi in Appellant's
garage was the same Mitsubishi the surveillance officers witnessed drop Ms. Johnson and
Mr.&nbsp;Black off at the Pathfinder; and (10) the detectives' discovery of an assortment of vehicle
keys hidden in a boot in Appellant's bedroom, combined with evidence that there was no forced
entry damage to the Tahoe.  Having eliminated the accomplice witness testimony from our
analysis, we conclude that the non-accomplice evidence does tend to connect Appellant to the
offense sufficiently to corroborate the testimony of the accomplice witnesses.  Accordingly,
Appellant's factual insufficiency argument fails, and Issue Two is overruled.

	By cross-point, the State requests that this Court modify the trial court's judgment which
orders Appellant's aggravated robbery, engaging in criminal activities, and burglary sentences to
run consecutively.  The State concedes that Appellant was not convicted of the types of offenses
which require consecutive sentencing.  See Tex.Penal Code Ann. § 3.03(b)(Vernon Supp. 
2008)(when an accused is convicted of multiple offenses arising out of the same criminal episode
sentences run concurrently unless the sentence is for an intoxication, solicitation of a minor, or
sexual offense).  This Court has the authority to modify a trial court's judgment and affirm the
judgment as modified.  See Tex.R.App.P. 43.2(b).  We therefore modify the trial court's
judgment and order Appellant's sentences to run concurrently.

	Having overruled both of Appellant's issues, we affirm the judgment of the trial court as
modified.


September 16, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.

Carr, J. (Not Participating)


(Do Not Publish)
1.  Appellant's convictions for aggravated robbery and organized criminal activities are
addressed in two companions to this appeal.  See Matlock v. State, No. 08-07-00225-CR
(Tex.App.--El Paso Sept. 16, 2009, no pet.h.) and Matlock v. State, No. 08-07-00226-CR
(Tex.App.--El Paso Sept. 16, 2009, no pet.h.).
2.  The indictment charged Appellant with:

(COUNT I)


	intentionally and knowingly, without the consent of Sandra Self, the owner
thereof, enter a habitation with the intent to commit theft, attempt to commit theft,
and commit theft of property, namely:  a 2000 Chevrolet Tahoe;


(COUNT II)


	intentionally and knowingly, without the effective consent of Dan Self, the owner
thereof, enter a habitation with the intent to commit theft, attempt to commit theft,
and commit theft of property, namely:  a 2005 Nissan Pathfinder.


